            Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 1 of 9            FILED
                                                                           2020 May-01 PM 02:34
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

Tanya Jackson,                                 Case No.:

                  Plaintiff,

      vs.                                      COMPLAINT

Equifax Information Services, LLC,
a Georgia limited liability company, and       JURY TRIAL DEMAND
Wells Fargo Bank, N.A.,
a foreign corporation,

                 Defendants.



      NOW COMES THE PLAINTIFF, TANYA JACKSON, BY AND

THROUGH COUNSEL, Matthew Landreau, Esq. and for her Complaint against the

Defendants, pleads as follows:

                                 JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit

      Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).




                                           1
     Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 2 of 9




                                   VENUE

3. The transactions and occurrences which give rise to this action occurred in the

   City of Fairfield, Jefferson County, Alabama.

4. Venue is proper in the Northern District of Alabama, Southern Division.



                                  PARTIES

5. Plaintiff is a natural person residing in City of Fairfield, Jefferson County,

   Alabama.

6. The Defendants to this lawsuit are:

      a. Equifax Information Services, LLC (“Equifax”) is a Georgia limited

         liability company that conducts business in the state of Alabama; and

      b. Wells Fargo Bank, N.A., (“Wells Fargo”) is a foreign corporation, that

         conducts business in the state of Alabama.

                       GENERAL ALLEGATIONS

7. Wells Fargo is inaccurately reporting its Tradeline (“Errant Tradeline”) on

   Plaintiff’s Equifax credit file with an erroneous notation of account in dispute

8. Plaintiff no longer disputes the Errant Tradeline.

9. On February 15, 2020, Plaintiff obtained her Equifax credit disclosure and

   noticed the Errant Tradeline reporting with a notation of account in dispute.




                                       2
      Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 3 of 9




   On or about March 4, 2020, Plaintiff submitted a letter to Equifax requesting

   that the credit bureau remove the notation of account in dispute.

10.Equifax forwarded Plaintiff’s consumer dispute to Wells Fargo. Wells Fargo

   received Plaintiff’s consumer dispute from Equifax.

11.Equifax and Wells Fargo did not consult the Credit Reporting Resource

   Guide as part of its investigation of Plaintiff’s dispute.

12.In response to Plaintiff’s dispute, Wells Fargo verified to Equifax that its

   reporting of its Errant Tradeline was accurate.

13.Plaintiff had not received Equifax’s investigation results. Therefore, on April

   22, 2020, Plaintiff obtained her Equifax credit disclosure, which showed that

   Equifax and Wells Fargo failed or refused to remove the notation of account

   in dispute.

14.As a direct and proximate cause of the Defendants’ negligent and/or willful

   failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681,

   et seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also

   experienced undue stress and anxiety due to Defendants’ failure to correct the

   errors in her credit file or improve her financial situation by obtaining new or

   more favorable credit terms as a result of the Defendants’ violations of the

   FCRA.


                                   COUNT I
                                        3
       Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 4 of 9




NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                     WELLS FARGO

 15. Plaintiff realleges the above paragraphs as if recited verbatim.

 16.After being informed by Equifax of Plaintiff’s consumer dispute of the

    erroneous notation, Wells Fargo negligently failed to conduct a proper

    investigation of Plaintiff’s dispute as required by 15 USC 1681s-2(b).

 17.Wells Fargo negligently failed to review all relevant information available to

    it and provided by Equifax in conducting its reinvestigation as required by

    15 USC 1681s-2(b). Specifically, it failed to direct Equifax to remove the

    notation of account in dispute.

 18.The Errant Tradeline is inaccurate and creating a misleading impression on

    Plaintiff’s consumer credit file with Equifax to which it is reporting such

    Tradeline.

 19.As a direct and proximate cause of Wells Fargo’s negligent failure to

    perform its duties under the FCRA, Plaintiff has suffered damages, mental

    anguish, suffering, humiliation, and embarrassment.

 20.Wells Fargo is liable to Plaintiff by reason of its violations of the FCRA in

    an amount to be determined by the trier fact together with reasonable

    attorneys’ fees pursuant to 15 USC 1681o.




                                        4
         Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 5 of 9




   21.Plaintiff has a private right of action to assert claims against Wells Fargo

      arising under 15 USC 1681s-2(b).

      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant Wells Fargo for damages, costs, interest, and attorneys’ fees.



                                     COUNT II

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                     WELLS FARGO

   22. Plaintiff realleges the above paragraphs as if recited verbatim.

   23.After being informed by Equifax that Plaintiff disputed the accuracy of the

      information it was providing, Wells Fargo willfully failed to conduct a proper

      reinvestigation of Plaintiff’s dispute.

   24.Wells Fargo willfully failed to review all relevant information available to it

      and provided by Equifax as required by 15 USC 1681s-2(b).

   25.As a direct and proximate cause of Wells Fargo’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   26.Wells Fargo is liable to Plaintiff for either statutory damages or actual

      damages she has sustained by reason of its violations of the FCRA in an

      amount to be determined by the trier fact, together with an award of punitive


                                           5
         Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 6 of 9




      damages in the amount to be determined by the trier of fact, as well as for

      reasonable attorneys’ fees that she may recover pursuant to 15 USC 1681n.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant Wells Fargo for the greater of statutory or actual damages,

plus punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT III

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EQUIFAX

   27.Plaintiff realleges the above paragraphs as if recited verbatim.

   28.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   29.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   30.Equifax negligently failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   31. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Equifax

      negligently failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.


                                          6
         Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 7 of 9




   32.As a direct and proximate cause of Equifax’s negligent failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   33.Equifax is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Equifax for actual damages, costs, interest, and attorneys’ fees.


                                    COUNT IV

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       BY EQUIFAX

   34.Plaintiff realleges the above paragraphs as if recited verbatim.

   35.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   36.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   37.Equifax willfully failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information that it reported to one

      or more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
                                          7
         Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 8 of 9




   38. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Equifax

      willfully failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.

   39.As a direct and proximate cause of Equifax’s willful failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   40.Equifax is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant Equifax for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.


                                JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: May 1, 2020




                                         8
Case 2:20-cv-00618-JHE Document 1 Filed 05/01/20 Page 9 of 9




                                 By: /s/Matthew Landreau
                                 Matthew Landreau
                                 Bar Number 4710-A22L
                                 22142 West Nine Mile Road
                                 Southfield, MI 48033
                                 Telephone: (248) 353-2882
                                 Facsimile: (248) 353-4840
                                 E-mail: matt@crlam.com
                                 Attorneys for Plaintiff,
                                 Tanya Jackson




                             9
